        Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 1 of 33




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


JEREMY RODRIGUEZ-ORTEGA AND
JOSHUA RODRIGUEZ,
                Plaintiffs,
v.                                                           No. 1: 21-cv-01129-JCH-KK


DAVID RICH, KENNETH LUCERO,
in their official and individual capacities, L. TERESA
PADILLA, in her individual capacity,
AND NEW MEXICO DEPARTMENT OF HEALTH
                Defendants,



     COMPLAINT FOR VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT,
     THE NEW MEXICO HUMAN RIGHTS ACT, BREACH OF IMPLIED CONTRACT,
          BREACH OF GOOD FAITH AND FAIR DEALING, WHISTLEBLOWER
PROTECTION ACT, PETITIONS FOR WRIT OF CERTIORARI AND VIOLATION OF
                                         42 U.S.C. §1983



                                    I.      Nature of the Action




      COMES NOW Plaintiffs Jeremy Rodriguez-Ortega and Joshua Rodriguez, by and through

their counsel of record, Heather Burke, to file this complaint for violations of Family and

Medical Leave Act 29 U.S.C. § 2601 (“FMLA,” herein) and the New Mexico Human Rights

Act, NMSA 1978 § 28-1-7 et seq (“NMHRA”, herein), Breach of Implied Contract, Breach of




                                                 1
      Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 2 of 33




Good Faith and Fair Dealing, the Whistleblower Protection Act and for a Petition for Writ of

Certiorari and Judicial Review of Administrative Decision, and Violation of 42 U.S.C. §1983.




                                             II.       Parties

       1. Jeremy Rodriguez-Ortega is a resident of Santa Fe County, New Mexico and Joshua

           Rodriguez is a resident of San Miguel County, New Mexico. They are employees

           within the meaning of the FMLA, New Mexico Human Rights Act, NMSA 1978 §

           28-1-7 et seq, the Whistleblower Protection Act and New Mexico Common Law.

       2. Jeremy Rodriguez-Ortega and Joshua Rodriguez were both employed by New

           Mexico Department of Health in Santa Fe, New Mexico.

       3. New Mexico Department of Health, is located in Santa Fe, NM in Santa Fe County.

           They are employers within the meaning of the FMLA, New Mexico Human Rights

           Act, NMSA 1978 § 28-1-7 et seq, the Whistleblower Protection Act and New Mexico

           Common Law.

       4. David Rich, Kenneth Lucero and L. Teresa Padilla live and/or work in Santa Fe, NM

           in Santa Fe County. They are employers within the meaning of the FMLA, New

           Mexico Human Rights Act, NMSA 1978 § 28-1-7 et seq, and New Mexico Common

           Law. As director and deputy director of SPO, Defendant Padilla acted under color of

           law in her individual capacity.




                                                   2
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 3 of 33




                                  III.    Jurisdiction

5.   The New Mexico Human rights Act, NMSA 1978 § 28-1-7 et seq, confers

     jurisdiction in the State of New Mexico, Santa Fe County, First Judicial District

     Court, where defendants do business. All relevant events that form the causes of

     action in this litigation occurred within the State of New Mexico.

6.   The Court has personal jurisdiction over Defendants because it was at all times

     herein alleged conducting business in Santa Fe County, New Mexico.

7.   Defendants took the unlawful, retaliatory, and/or tortious acts herein alleged within

     this Judicial District and/or took wrongful acts that had effects in this Judicial

     District.

8.   Venue is proper under NMSA 38-3-1

9.   Venue in this Court is proper because the Defendants engaged in the unlawful,

     retaliatory, and/or other tortious conduct giving rise to this Complaint in Santa Fe

     County, New Mexico, which is within this Judicial District.

                     IV. Exhaustion of Administrative Procedures


10. Plaintiffs timely filed charges of discrimination with the New Mexico Human Rights

     Bureau, which was cross filed with the EEOC. They satisfied all administrative

     requirements and received an order of non-determination dated July 15, 2021, which

     allows them 90 days to file their complaint in state district court.

                                              Facts



11. Plaintiffs are twin brothers who both suffer from a congenital kidney disease.



                                          3
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 4 of 33




12. Jeremy Rodriguez-Ortega began employment with the State of New Mexico in 1999.

    He began working for Defendant Department of Health(DOH) in or around June

    2018.

13. Jeremy Rodriguez-Ortega worked in HR at DOH and reported directly to David

    Rich.

14. Jeremy Rodriguez-Ortega applied for and was granted FMLA from July 2018 to July

    2019.

15. Although he continued taking leave related to his conditions, Mr. Rodriguez-Ortega

    was not asked to submit another application for FMLA in July 2019.

16. Joshua Rodriguez began working for Defendant DOH in July 2011

17. Joshua Rodriguez applied for a promotion with the Immune Division at DOH as a

    Vaccine Outreach Manager in or around December 2019.

18. On December 16, 2019 Mr. Rodriguez arrived for his interview, and he was

    immediately asked to fill out ADA accommodations paperwork which requested

    disclosure of his health condition.

19. Mr. Rodriguez refused to fill this paperwork out, believing it to be a violation of law.

    He was not offered the promotion.

20. On or around December 30, 2019 Mr. Rodriguez sent an email to David Rich

    reporting what he believed to be hiring practices which were in violation of law.

21. On January 7, 2020, Mr. Rodriguez again reported this incident via email to David

    Rich, DOH HRB Labor Relations Manager and ADA Coordinator.

22. On January 15, 2020 David Rich sent an email to Kenneth Lucero and others

    discussing Mr. Rodriguez’s complaint, identifying him by name and work location



                                          4
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 5 of 33




    stating “The employee is using words like “discrimination,” “illegal,” et cetera. I’m

    trying to resolve this so that he doesn’t file an EEOC complaint which he would

    probably win! His name is Joshua Rodriguez and he currently works for PHD in the

    pharmacy warehouse.”

23. About a month later, on February 21, Jeremy Rodriguez-Ortega was suddenly and

    unexpectedly hospitalized for 3 days due to his medical condition, and was heavily

    medicated after being released to recover at home.

24. As he was incapacitated, Mr. Rodriguez-Ortega was unable to notify Defendants of

    his whereabouts.

25. While Mr. Rodriguez-Ortega was hospitalized, David Rich contacted Joshua

    Rodriguez at work sometime on or around February 21 to ask where Jeremy

    Rodriguez-Ortega was. Joshua Rodriguez informed Mr. Rich that Jeremy

    Rodriguez-Ortega had been in the hospital.

26. Mr. Rodriguez-Ortega was absent from work due to his health condition from

    February 21 to March 1, 2020.

27. Jeremy Rodriguez-Ortega was recovered enough to return to work on March 2.

    Shortly after his return, David Rich called him into a meeting with Teresa Padilla.

    Mr. Rich told Jeremy Rodriguez-Ortega that it was unacceptable that he had not

    notified them of his whereabouts during his absence and that if it happened again, he

    would be marked AWOL and disciplined up to and including termination.

28. David Rich told Mr. Rodriguez-Ortega that without exception, he must comply with

    DOH’s Absence and Leave policy. Mr. Rich marked Mr. Rodriguez-Ortega AWOL

    for several days of his hospitalization and recovery period for being in violation of



                                        5
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 6 of 33




    this policy. Mr. Rich stated that if he did not notify Mr. Rich that he would be

    absent within 30 minutes of the start of his shift going forward, he would be marked

    AWOL and subject to discipline up to and including termination.

29. Mr. Rodriguez-Ortega was also informed in this meeting that his job duties were

    being reassigned, and from then on, his primary responsibility would be qualifying

    for early disability retirement in lieu of being suspended for 5 days for being AWOL

    while he was hospitalized and recovering. David Rich told him how terrible he

    looked and that he should be focusing on his health instead of working.

30. Mr. Rodriguez-Ortega did not wish to retire before he reached his 25 years of

    service, and told David Rich that he felt that he would be “failing himself” if he did.

31. It was also suggested that Mr. Rodriguez-Ortega apply for FMLA, which would be

    applied retroactively back to July 2019, from the time it had previously expired.

32. Mr. Rodriguez-Ortega had taken leave related to his condition more than 12 times

    between July 2019 and February 2020 but had never been asked or expected to re-

    apply.

33. Mr. Rodriguez-Ortega submitted his FMLA application dated March 5, 2020. This

    application clearly states that Mr. Rodriguez-Ortega was hospitalized for FMLA

    qualifying condition February 20-23 2020.

34. This certification also stated that Mr. Rodriguez-Ortega’s medical condition would

    cause flareups during which he was unable to work and potential hospitalizations.

35. Despite actual knowledge and medical certification in the FMLA application that

    Mr. Rodriguez-Ortega was absent due to hospitalization and recovery for his FMLA

    covered condition, David Rich marked Mr. Rodriguez-Ortega Absent Without Leave



                                         6
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 7 of 33




    (AWOL) on February 21, part of February 27, and all of Feb 28. The other days Mr.

    Rodriguez-Ortega was absent were designated FMLA.

36. David Rich testified in his deposition and in Mr. Rodriguez-Ortega’s State Personnel

    Appeal Hearing that he marked Mr. Rodriguez-Ortega AWOL because he had not

    called in within 30 minutes of his shift.

37. David Rich directed Mr. Rodriguez-Ortega to complete a second intermittent leave

    application, which was dated March 16, 2020, for the same health condition as the

    first.

38. David Rich marked the later March 16 FMLA as FMLA #1, while marking the

    earlier application as FMLA #2. David Rich designated FMLA #1 to be from July

    2019 to July 2020, and FMLA #2 to be from March 2020 to July 2020.

39. On March 9, 2020, Joshua Rodriguez observed Vandora Montoya and Chasedy Vela

    with a stun gun in the office and was directed by his manager to address a violation

    of the DOH Weapons Policy with them.

40. On March 9, 2020 Vandora Montoya allegedly contacted Ken Lucero to discuss a

    violation of DOH Weapons policy by herself and another employee. For unknown

    reasons, this conversation somehow turned into an allegation of sexual harassment

    by Joshua Rodriguez.

41. Violation of the DOH Weapons policy is the same level violation as sexual

    harassment, and can result in immediate termination.

42. Ken Lucero asked David Rich for permission to investigate Joshua Rodriguez for

    sexual harassment. He did not ask for permission to investigate the violation of

    weapons policy. David Rich gave permission to investigate Joshua Rodriguez only



                                         7
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 8 of 33




    approximately two weeks after Joshua Rodriguez had informed him of Jeremy

    Rodriguez-Ortega’s hospitalization.

43. At the time of their interviews, none of the witnesses were even asked to corroborate

    each other’s stories, yet Mr. Lucero treated each allegation as though it had been

    substantiated.

44. By the time Mr. Lucero interviewed Mr. Rodriguez on March 12, 2020, it was clear

    that he had already decided Mr. Rodriguez was guilty of all allegations by the way

    he conducted his “interview.” He even claimed in this interview to have recordings

    as evidence against Mr. Rodriguez, which was not true.

45. There was no actual evidence that Mr. Rodriguez had done any of the things he was

    accused of doing, and the complaints against him came from two of his employees

    who he had just confronted about a dangerous weapons policy violation for which

    they may be disciplined, up to and including termination, and an ex-employee who

    was known not to like him.

46. Witness Julie Roybal has since stated that she felt coerced into saying negative

    things about Mr. Rodriguez, and refused to be involved with Defendants State

    Personnel action against him.

47. By accusing Mr. Rodriguez of harassment, Ms. Montoya and Ms. Vela avoided any

    attention or investigation of their weapons policy violation, and received no

    discipline.

48. On or about March 17, Governor Michelle Lujan Grisham enacted a stay at home

    order, and all state employees began working from home.




                                          8
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 9 of 33




49. Jeremy Rodriguez-Ortega received no communication or email from David Rich or

    any of his coworkers while he was working from home. He was assigned no work

    as his coworkers had been assigned his job duties.

50. Although he dutifully logged into the DOH VPN Service “Apache Guacamole” He

    became used to receiving no email and did not notice when his email password

    expired, and observed no prompts which would alert him to any issue.

51. Defendant Lucero completed his investigation of Joshua Rodriguez on or around

    April 14, 2020. His report contained many misrepresentations and fraudulent

    statements, all of which went against Mr. Rodriguez. This report specifically

    recommended Mr. Rodriguez’s termination.

52. The report also found that Ron Ulibarri and Dr. Chris Novak had also violated DOH

    policy, but made no specific recommendation as to discipline for their infractions.

    Neither received any discipline.

53. None of Mr. Rodriguez’s management listened to any of the investigation interviews

    or otherwise confirmed Defendant Lucero’s investigation findings, and all of them

    relied completely on his representations.

54. On April 24, 2020 at 2:31pm, David Rich approved a Notice of Contemplated

    Action to be issued to Joshua Rodriguez intending to terminate him from

    employment for alleged substantiation of sexual harassment. To support this action,

    Defendants used two unrelated verbal counseling statements from 2016.

55. DOH Discipline Policy specifically only allows counseling statements to be retained

    for only one year, and may be used for progressive discipline only during this time.

    Defendants retained and used these records in clear violation of policy.



                                        9
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 10 of 33




 56. Just after this, also on April 24, 2020 at 4:30pm David Rich sent an angry email to

     Jeremy Rodriguez-Ortega, claiming that Mr. Rodriguez-Ortega had failed to

     complete an NCA he was assigned. In this email, Mr. Rich tells Mr. Rodriguez-

     Ortega that he can no longer use Flex time saying “FLEX time is available when a

     staff member has the workload to support the flexing of time but you do not. The

     other team members picked up 99% of your job assignments when your health

     degraded. Now you are doing better but there is absolutely no measurable work

     output from you.”

 57. He ends this email with the statement “The ERD NCA needs to be resolved, edited

     correctly, and well documented and on my desk by the end of the day on Monday,

     April 27.”

 58. David Rich sent no earlier emails to Mr. Rodriguez-Ortega while he was working

     from home.

 59. Mr. Rodriguez-Ortega was not aware that he was not receiving emails, and so didn’t

     receive and couldn’t respond to the April 24 email.

 60. On April 28, 2020, Joshua Rodriguez was issued his NCA intending to terminate

     him.

 61. Instead, on May 1, 2020, David Rich sent another angry email, stating he had had no

     response to the email from a week earlier and that he was advised to have an NCA to

     him by April 20 instead of the real date of April 27 in the only other email Rich had

     sent to Mr. Rodriguez-Ortega.




                                        10
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 11 of 33




 62. Although David Rich was aware that Mr. Rodriguez-Ortega suffered from a serious

     health condition, he did not attempt to call or text Mr. Rodriguez-Ortega when he did

     not receive a response to this email.

 63. The email states “You have now been working from home at least seven (7) weeks

     with literally no work results to speak of nor have you communicated with me or the

     team as to what you are doing.”

 64. It continues “You were given a huge opportunity, out of our concern for your rapidly

     deteriorating health, in late February when you had at least 3 incidents of AWOL.

     The opportunity, rather than face discipline, was to look into medical retirement, et

     cetera vs. facing up to a 5-day suspension for your AWOLs. You were then provided

     time to research and look into all these matters and the only option you pursued was

     ALD and to update your FMLA. My extreme leniency with you is coming to end.”

 65. The 3 incidents of AWOL that David Rich refers to in his email are days that Mr.

     Rodriguez-Ortega was hospitalized and absent due to his FMLA covered condition.

 66. It continues “Unfortunately your conduct and lack of work effort has left are

     extremely busy office to be handled by four rather than five employees. Your

     teammates have picked up all your work assignments, without complaint and we are

     all having to work harder because you are not. Going forward you are to send me an

     appointment invite in Outlook for any and all medical appointments with an

     explanation as to how you code your time in SHARE for the appointment.”

 67. On May 4, 2020, Mr. Rodriguez-Ortega sent David Rich a text notifying him that

     Mr. Rodriguez-Ortega had just arrived at the Emergency Department at Santa Fe




                                         11
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 12 of 33




     Presbyterian Hospital. Mr. Rodriguez-Ortega was given heavy duty painkillers while

     in the ER.

 68. After being released, Mr. Rodriguez-Ortega was prescribed a continuing dose of

     heavy-duty narcotic painkillers which helped make him more comfortable but also

     kept him incapacitated.

 69. Mr. Rodriguez-Ortega returned to the ER on May 8, 2020, and was again stabilized

     enough to be released home while under continued narcotic pain treatment which

     kept him incapacitated.

 70. On May 13, Mr. Rodriguez-Ortega returned to the hospital for treatment and was

     admitted for 3 days, and was released on May 15th.

 71. David Rich did not attempt to contact Mr. Rodriguez-Ortega during his absence to

     find out how he was doing or when he would be back to work, or whether he was

     invoking FMLA for the duration of his absence.

 72. David Rich also did not try to contact Joshua Rodriguez, who was still employed by

     NMDOH to find out where Mr. Rodriguez-Ortega was, as he had done in February.

 73. Instead, David Rich waited 11 days until the late afternoon on May 15, 2020 before

     he called Mr. Rodriguez-Ortega to yell at him about being AWOL. He did not ask

     whether Mr. Rodriguez-Ortega had invoked FMLA, or ask how he was doing, but

     threatened Mr. Rodriguez-Ortega with termination for being AWOL.

 74. David Rich had told Mr. Rodriguez-Ortega that if he didn’t call in within 30 minutes

     of his shift that he couldn’t use FMLA, and would be marked AWOL.




                                        12
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 13 of 33




 75. Mr. Rodriguez-Ortega had been too incapacitated to call in within 30 minutes of his

     shift each day, and he had been explicitly told by David Rich that he would be

     marked AWOL if he tried to use his FMLA without having done so.

 76. As Mr. Rodriguez-Ortega had just been released from the hospital, and he was still

     under the influence of heavy duty narcotic medication at the time of this phone call,

     he instead told Mr. Rich that he had been teleworking, not in the hospital, to try to

     avoid being marked AWOL and getting terminated for not calling in each day within

     30 minutes of his shift.

 77. Defendant Rich’s actions created a situation where Mr. Rodriguez-Ortega could not

     invoke his FMLA for additional recovery even though he had just been released

     from the hospital.

 78. On May 19, 2020 Joshua Rodriguez was issued a Notice of Final Action, terminating

     his employment with DOH. There was no actual evidence that Mr. Rodriguez had

     committed any of the alleged violations of policy. Mr. Rodriguez appealed to the

     State Personnel Board.

 79. The same day, David Rich emailed Mr. Rodriguez-Ortega thanking Mr. Rodriguez-

     Ortega for contacting PERA about early retirement.

 80. Only a few weeks later, on June 30, 2020, Defendant Rich issued a Notice of

     Contemplated Action to Mr. Rodriguez-Ortega for being AWOL, Negligent in his

     duties. Failure to be ready to work, and insubordinate.

 81. The AWOL dates used to support the NCA were the dates Mr. Rodriguez-Ortega

     was hospitalized and incapacitated in May 2020.

 82. Mr. Rodriguez-Ortega’s new FMLA year would have started again in July.



                                         13
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 14 of 33




 83. Jeremy Rodriguez-Ortega was terminated effective July 25, 2020 for being AWOL,

     Negligent in his duties. Failure to be ready to work, and insubordinate.

 84. The State Personnel Board accepted Joshua Rodriguez’s appeal of his termination on

     June 12, 2020.

 85. ALJ Haught issued her recommended decision to uphold Mr. Rodriguez’s

     termination on August 18, 2021

 86. Mr. Rodriguez filed the following and other objections and exceptions to the

     recommended decision.

 87. In the absence of actual evidence, the Board’s determination was largely based on a

     subjective finding of credibility. However, ALJ Haught’s rulings artificially and

     improperly guaranteed that the accusers would appear more credible.

 88. ALJ Haught allowed complainant Vandora Montoya to testify while holding her

     newborn. This made Ms. Montoya seem particularly honest and vulnerable, and

     made cross examination more difficult.

 89. In his hearing, Joshua Rodriguez was prevented from attacking the credibility of his

     accusers as they were “not on trial.” This violated Mr. Rodriguez’s due process

     rights.

 90. In addition to these and other unfair rulings, ALJ Haught incorrectly determined that

     one of Mr. Rodriguez’s comparators had not been found to have harassed anyone,

     when the investigation report clearly finds that he had.

 91. Defendants produced hundreds of pages of records of similarly situated employees

     who were accused and investigated for sexual harassment. Not a single one showed

     a career employee being terminated on a single finding of sexual harassment.



                                         14
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 15 of 33




 92. Even if the finding was proper that Mr. Rodriguez had more likely than not done

     what he was accused of, it is per se unreasonable to discipline him more harshly than

     ALL others in his position.

 93. Mr. Rodriguez was denied notice and an opportunity to address any shortcomings,

     and received no progressive discipline.

 94. ALJ Haught received a raise after the hearing, but before she issued her decision.

 95. This raise required a change in position title from admin law judge/adjudicator

     supervisor to Attorney Supervisor. This would require approval by SPO Directors.

 96. The State Personnel Board issued its final decision for Joshua Rodriguez on

     September 17, 2021. Mr. Rodriguez appeals that decision herein.

 97. The following day, on September 18, 2021, Defendant Padilla started as SPO

     Deputy Director.

 98. While the decision to appoint her was being made, SPB was adjudicating Mr.

     Rodriguez’s appeal.

 99. At no time did Defendants disclose Defendant Padilla’s appointment to SPO to

     Plaintiff or to the Court.

 100. Defendant Padilla was a material witness for the defense in Mr. Rodriguez-Ortega’s

     appeal.

 101. ALJ Baca received a raise after working only 5 months at SPB, after the appeal

     hearing, but before he made his decision. It is exceedingly unusual to receive a raise

     so soon after starting in a new position in state government.

 102. His raise required changing his position title from Admin Law Judge to Attorney III,

     which would require approval by the SPB directors.



                                         15
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 16 of 33




 103. ALJ Baca judged the credibility of his boss, Defendant Padilla’s testimony.

 104. SPB ignored Mr. Rodriguez’s requests to transmit his administrative record to the

     court. Defendant Padilla was deputy director at that time.

 105. The State Personnel Board issued its final decision for Jeremy Rodriguez-Ortega

     upholding his termination on December 10, 2021. Defendant Padilla was deputy

     director at that time. Mr. Rodriguez appeals that decision herein.

 106. SPB ignored Mr. Rodriguez-Ortega’s request to transmit the administrative record to

     the court. Defendant Padilla was deputy director at that time.

 107. Defendant Padilla was promoted to SPB Director in July 2022.

 108. SPB intentionally transmitted the administrative records to the closed state court

     case, before finally transmitting the records to this federal court on September 27,

     2023.




                      COUNT I: FMLA INTERFERENCE

                     (Defendant Rich in his individual capacity)

 109. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 110. 29 C.F.R. § 825.220 “An employer is prohibited from interfering with, restraining,

      or denying the exercise of (or attempts to exercise) any rights provided by the Act.”

 111. Defendant Rich was Mr. Rodriguez-Ortega’s direct supervisor, acts in the interest

      of Defendant DOH, supervised and controlled his work schedules and conditions of

      employment including making the termination decision and signing his termination

      notice. Defendant Rich qualifies as an employer under the FMLA.

                                         16
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 17 of 33




 112. Mr. Rodriguez-Ortega had worked more than 12 months for the State of New

      Mexico, and had worked 1250 hours in the previous 12 months in or around July

      2019 when he was eligible for a new year of FMLA coverage.

 113. 29 C.F.R. § 825.300(b)(1) requires “when the employer acquires knowledge that an

      employee's leave may be for an FMLA-qualifying reason, the employer must notify

      the employee of the employee's eligibility to take FMLA leave within five business

      days…. Employee eligibility is determined (and notice must be provided) at the

      commencement of the first instance of leave for each FMLA-qualifying reason in

      the applicable 12-month period.”

 114. Mr. Rodriguez-Ortega took leave related to his medical condition at least 12 times

      before February 2020, which gave Defendants actual notice of his qualifying

      condition. In addition, he had qualified for FMLA during the previous year for the

      same condition.

 115. Each time Mr. Rodriguez-Ortega took leave related to his conditions, it put

      Defendants on notice of his need for FMLA leave.

 116. 29 C.F.R. § 825.303(a) “When the approximate timing of the need for leave is not

      foreseeable, an employee must provide notice to the employer as soon as

      practicable under the facts and circumstances of the particular case.”

 117. 29 C.F.R. § 825.303(c) “[I]f an employee requires emergency medical treatment, he

      or she would not be required to follow the call-in procedure until his or her

      condition is stabilized and he or she has access to, and is able to use, a phone.”




                                         17
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 18 of 33




 118. 29 C.F.R. § 825.220 “Interfering with the exercise of an employee’s rights would

      include, for example, not only refusing to authorize FMLA leave, but discouraging

      an employee from using such leave.”

 119. Defendant Rich unlawfully interfered with Mr. Rodriguez-Ortega’s FMLA rights

      by telling Mr. Rodriguez-Ortega that he must call in each day within 30 minutes or

      he would not be able to invoke his FMLA leave.

 120. Defendant Rich unlawfully interfered with Mr. Rodriguez-Ortega’s FMLA rights

      when they marked Mr. Rodriguez-Ortega AWOL while Mr. Rodriguez-Ortega was

      in the hospital, and while he was recovering from hospitalization, preventing Mr.

      Rodriguez-Ortega’s ability to use paid annual or donated leave for those periods.

 121. Defendant Rich unlawfully interfered with Mr. Rodriguez-Ortega’s FMLA rights

      when they gave him the choice between a 5-day suspension for being AWOL or

      taking early disability retirement.

 122. Defendant Rich unlawfully interfered with Mr. Rodriguez-Ortega’s FMLA rights

      by making Mr. Rodriguez-Ortega believe that he could not invoke his FMLA rights

      for his May 2020 incapacitations, hospitalization, and recovery if he did not call in

      every day within 30 minutes of his shift.

 123. Defendant Rich unlawfully interfered with Mr. Rodriguez-Ortega’s FMLA rights

      when they terminated him for his FMLA protected absences.

 124. Defendant Rich unlawfully interfered with Mr. Rodriguez-Ortega’s FMLA rights

      when they terminated him before he could apply for a new year of FMLA coverage.

 125. As a result of Defendant Rich’s illegal retaliation, Mr. Rodriguez-Ortega suffered,

      and continues to suffer, damages.



                                            18
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 19 of 33




                       COUNT II: FMLA RETALIATION

                    (Defendant Rich in his individual capacity)

 126. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 127. 29 C.F.R. § 825.220 “[E]mployers cannot use the taking of FMLA leave as a

      negative factor in employment actions, such as hiring, promotions or disciplinary

      actions; nor can FMLA leave be counted under no fault attendance policies.”

 128. Defendant Rich unlawfully retaliated against Mr. Rodriguez-Ortega for exercise of

      his FMLA rights when he gave Mr. Rodriguez-Ortega the choice between a 5-day

      suspension for being AWOL during his FMLA leave or taking early disability

      retirement.

 129. Defendant Rich unlawfully retaliated against Mr. Rodriguez-Ortega for exercise of

       his FMLA rights by taking away his job duties and reassigning them to other staff

       after his February 2019 hospitalization.

 130. Defendant Rich unlawfully retaliated against Mr. Rodriguez-Ortega for exercise of

       his FMLA rights by terminating his employment.

 131. As a result of Defendant Rich’s illegal retaliation, Mr. Rodriguez-Ortega suffered,

       and continues to suffer, damages.




            COUNT III: VIOLATION OF HUMAN RIGHTS ACT:
            DISABILITY AND SERIOUS MEDICAL CONDITION
                    (Defendants Rich, Lucero and DOH)



                                         19
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 20 of 33




132. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

    herein.

133. The New Mexico Human Rights Act (NMHRA) NMSA 1978 § 28-1-7(A) states that

    it is an unlawful discriminatory practice for “an employer, unless based on a bona

    fide occupational qualification or other statutory prohibition, to refuse to hire, to

    discharge, to promote or demote or to discriminate in matters of compensation, terms,

    conditions or privileges of employment against any person otherwise qualified

    because of race, age, religion, color, national origin, ancestry, sex, physical or mental

    handicap or serious medical condition”

134. Mr. Rodriguez-Ortega has PKD and pancreatitis which qualify as disabilities and/or

    serious medical conditions under the HRA.

135. Mr. Rodriguez has PKD which qualifies as a disability and/or serious medical

    condition under the HRA.

136. Defendants discriminated against Mr. Rodriguez when they unlawfully asked him to

    disclose his disability before he was interviewed for a promotion in December 2018.

137. Defendants unlawfully discriminated and retaliated against Mr. Rodriguez when they

    failed to promote him after he refused to disclose his disability.

138. Mr. Rodriguez engaged in protected activity when he reported to Defendant Rich

    discrimination surrounding his interview for a promotion in December 2018.

139. Defendant Rich Discriminated and Retaliated against Mr. Rodriguez for his protected

    activity when he identified Mr. Rodriguez by name and work location to other DOH

    employees, including Defendant Lucero.




                                          20
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 21 of 33




140. Defendant Lucero discriminated and retaliated against Mr. Rodriguez when he only

    sought approval to investigate Mr. Rodriguez and did not seek approval to investigate

    Ms. Montoya or Ms. Vela when all three employees were accused of violating group

    3 offenses which could also result in termination.

141. Defendant Lucero discriminated against Mr. Rodriguez when he conducted a biased

    investigation designed to terminate him in which every inference immediately went

    against him.

142. Defendant Lucero discriminated against Mr. Rodriguez when he added extra

    allegations to Mr. Rodriguez’s NCA and NFA that no witness had actually accused

    him of. This demonstrated that Mr. Lucero wanted Mr. Rodriguez to appear as guilty

    as possible.

143. Defendants discriminated against Mr. Rodriguez when they only disciplined him, and

    none of the others who were alleged to have facilitated and/or ignored his alleged

    behavior.

144. Defendants discriminated against Mr. Rodriguez when they used the frequency of his

    bathroom trips to determine that he was responsible for knocking on the women’s

    bathroom door.

145. Defendants Lucero and Rich discriminated and retaliated against Mr. Rodriguez when

    they violated DOH policy by failing to remove and then using years old counseling

    statements to support their termination desire.

146. Defendants discriminated and retaliated against Mr. Rodriguez when they disparately

    applied discipline, terminating him instead of suspending him for his first alleged

    violation.



                                         21
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 22 of 33




147. Defendants Rich and Padilla discriminated and retaliated against Mr. Rodriguez-

    Ortega when they stripped and reassigned Mr. Rodriguez-Ortega’s job duties to other

    staff after Mr. Rodriguez-Ortega’s hospitalization in February 2020.

148. Defendants Rich and Padilla Discriminated and retaliated against Mr. Rodriguez-

    Ortega when they threatened to suspend Mr. Rodriguez-Ortega for 5 days for

    allegedly being AWOL while in the hospital and recovering.

149. Defendants Rich and Padilla Discriminated against Mr. Rodriguez-Ortega when they

    pressured Mr. Rodriguez-Ortega to take early disability retirement “out of our

    concern for your rapidly deteriorating health.”

150. Defendant Rich Discriminated against Mr. Rodriguez-Ortega when he placed Mr.

    Rodriguez-Ortega under increased scrutiny because Mr. Rodriguez-Ortega’s

    disability application and/or approval was not happening quickly enough.

151. Defendant Rich Discriminated against Mr. Rodriguez-Ortega by failing to provide

    larger monitors for telework to accommodate Mr. Rodriguez-Ortega’s disability

    related vision problems.

152. Defendant Rich Discriminated and retaliated against Mr. Rodriguez-Ortega by

    ridiculing and disciplining Mr. Rodriguez-Ortega for not being able to see that his

    password was expired on his small personal laptop screen.

153. Defendant Rich Discriminated and retaliated against Mr. Rodriguez-Ortega by

    terminating his employment for leave while hospitalized and recovering from

    hospitalization.




                                        22
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 23 of 33




154. Defendant decisionmakers relied completely on Defendant Lucero’s retaliatory

     recommendation and biased report of investigation when making the decision to

     terminate Mr. Rodriguez.

155. Plaintiffs, twin brothers who had worked a combined 33+ years for the State of New

     Mexico, and who both suffered from the same disabling health condition, were fired

     within only 2 months of each other.

156. As a result of Defendants’ illegal actions, Plaintiffs suffered, and continue to suffer,

     damages.

                 COUNT IV: BREACH OF IMPLIED CONTRACT

                                  (Defendant DOH)
 157. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

       herein.

 158. Joshua Rodriguez was issued two counseling statements for failing to report an

       altercation between two employees in 2016. It remains unclear why two were

       issued for the same infraction.

 159. Mr. Rodriguez signed a policy acknowledgement for the DOH Disciplinary Action

       Policy on October 20, 2014.

 160. Defendant DOH’s Disciplinary Action Policy Policy defines counseling statements

       “Counseling statements may be either verbal or written. Verbal counseling

       statements must be documented by the supervisor. Written statements may be on

       the DOH counseling form and should include generalized information about the

       concern or infraction and expected correction.”




                                           23
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 24 of 33




 161. It requires that “A copy of the documented counseling is to be retained in the

      supervisor's soft file for the employee for up to one year and may be used as the

      basis for progressive discipline during this time frame.” (emphasis added)

 162. There is no requirement that an employee must request that a counseling statement

      be removed from their file after one year for this to apply.

 163. Defendants termination attempt came nearly 4 years after these counseling

      statements were issued.

 164. These counseling statements should no longer have existed, nor could they be used

      to support a termination.

 165. This policy created an implied contract between Defendants and Mr. Rodriguez as it

      included obligations and benefits for both parties and Mr. Rodriguez reasonably

      relied on the terms being equitably and consistently applied.

 166. Defendants breached their implied contract with Mr. Rodriguez when they used

      these statements to support counseling in violation of their written policy

      prohibiting this use.

 167. Defendants breach their implied contract when they did not equitably apply

      discipline and only disciplined Mr. Rodriguez for alleged violations.

 168. As a result of Defendants’ breach, Mr. Rodriguez suffered, and continues to suffer,

      damages.




                                         24
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 25 of 33




           COUNT V: BREACH OF GOOD FAITH AND FAIR DEALING

                                     (Defendant DOH)



 169. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 170. Defendants owe Mr. Rodriguez a duty of good faith and fair dealing.

 171. Defendants breached this duty when they used past counseling statements after

      more than a year and failed to timely remove them from his file as required.

 172. Defendants breached this duty when they disparately applied discipline more

      harshly to Mr. Rodriguez than to other similarly situated employees.

 173. As a result of Defendants’ breach, Mr. Rodriguez suffered, and continues to suffer,

      damages.




   COUNT VI: VIOLATION OF THE WHISTLEBLOWER PROTECTION ACT

                                     (Defendant DOH)


 174. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 175. The New Mexico Whistleblower Protection Act states: “A public employer shall

      not take any retaliatory action against a public employee because the public

      employee: A.      communicates to the public employer or a third-party

      information about an action or a failure to act that the public employee believes in

      good faith constitutes an unlawful or improper act;”



                                         25
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 26 of 33




 176. Joshua Rodriguez reported to Defendants that he, and potentially others, were being

      asked to disclose their medical conditions before being interviewed for positions at

      DOH.

 177. Mr. Rodriguez believed, in good faith, that this was a violation of law and/or policy.

 178. Decisionmakers relied completely on Defendant Lucero’s recommendation and

      biased report of investigation when making the decision to terminate Mr.

      Rodriguez.

 179. Defendants shared Mr. Rodriguez’s name and work location and the fact that he

      might sue them in emails to each other.

 180. Defendants illegally retaliated against Mr. Rodriguez by singling him out for

      investigation while simultaneously ignoring the violations of others.

 181. Defendants conducted a biased, inaccurate and heavily one-sided interview with the

      purpose of finding Mr. Rodriguez guilty of policy violations.

 182. Defendants terminated Mr. Rodriguez from his employment, in direct violation of

      law.

 183. As a result of Defendants’ breach, Mr. Rodriguez suffered, and continues to suffer,

      damages.

                 COUNT VII: PETITION FOR WRIT OF CERTOIARI

                                (Plaintiff Joshua Rodriguez)

 184. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 185. Pursuant to NMSA 1978 § 39-3-1.1, Rule 1-074 NMRA, and NMSA 1978 § 10-9-

      18, Plaintiff Joshua Rodriguez hereby appeals his termination to District Court.

                                         26
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 27 of 33




 186. NMSPB has no jurisdiction over the NMHRA.

 187. Joshua Rodriguez was a career state employee, and had been employed by

      NMDOH for 12 years at the time of his termination.

 188. The State Personnel Board’s decision was upheld Josh Rodriguez’s Termination on

      September 17, 2021.

 189. It adopted Judge Janelle Haught’s findings of fact and her conclusions of law.

 190. Judge Haught allowed Mr. Rodriguez’s accuser to hold, cuddle and care for her

      newborn child while giving testimony and while her credibility was being

      determined by Judge Haught.

 191. In the hearing, Judge Haught repeatedly prevented Mr. Rodriguez from attacking

      his accuser’s credibility, but then expressly found her to be more credible than Mr.

      Rodriguez.

 192. There was no actual evidence of any wrongdoing on Mr. Rodriguez’s part, and no

      evidence he had ever been given notice or given an opportunity to correct his

      behavior.

 193. Mr. Rodriguez demonstrated that Defendants had not terminated other similarly

      situated employees who had been found to have likely committed the same

      violations as Mr. Rodriguez.

 194. The SPB decision was arbitrary and capricious that Defendant DOH’s discipline

      was reasonable when it terminated Mr. Rodriguez more harshly than ALL other

      similarly situated employees.

 195. All other career employees at NMDOH were given notice and a chance to correct

      their behavior.



                                        27
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 28 of 33




 196. Mr. Rodriguez has the right to equitable application of discipline.

 197. DOH policy requires discipline to be applied in a fair and equitable manner.

 198. Defendant DOH produced no evidence that Mr. Rodriguez’s termination was fair or

      equitable.

 199. Due process guarantees equitable treatment and uniform application of discipline.

 200. Mr. Rodriguez was the only employee Defendants terminated for the alleged

      infractions without first applying progressive discipline, and Defendants violated

      their own policy by using old and unrelated counseling statements that could only

      be used with a year of their issue.

 201. The SPB Decision that Defendant DOH’s inequitable discipline was reasonable is

      not supported by substantial evidence and is contrary to law.




                COUNT VIII: PETITION FOR WRIT OF CERTOIARI

                            (Plaintiff Jeremy Rodriguez-Ortega)

 202. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 203. Pursuant to NMSA 1978 § 39-3-1.1, Rule 1-074 NMRA, and NMSA 1978 § 10-9-

      18, Plaintiff Jeremy Rodriguez-Ortega hereby appeals his termination to District

      Court.

 204. The SPB does not have jurisdiction over violations of the NMHRA.

 205. Jeremy Rodriguez-Ortega was a career State Employee for around 21 years, and at

      the time of his termination, was employed by NMDOH.

 206. He timely appealed his termination to the State Personnel Board.

                                            28
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 29 of 33




 207. On October 14, 2021, Administrative Law Judge Aaron Baca erroneously, and in

      conflict with federal law, determined that there was good cause for termination and

      recommended this finding to the State Personnel Board.

 208. On December 10, 2021, the New Mexico State Personnel Board approved Judge

      Baca’s Recommended Decision that there was just cause for Mr. Rodriguez-

      Ortega’s termination.

 209. This decision, and the conclusions of law and fact relied on in reaching it, are

      contrary to law, clearly erroneous and not supported by substantial evidence.

 210. Judge Baca made no finding on whether or not Plaintiff’s FMLA rights had been

      violated in reaching his conclusion, and it does not appear that they have

      jurisdiction to make such a determination.

 211. Defendants did not establish by a preponderance of the evidence that there was no

      need for progressive discipline, that Mr. Rodriguez-Ortega had any notice or

      opportunity to correct any deficiencies.

 212. Defendants did not establish by a preponderance of the evidence that any of Mr.

      Rodriguez-Ortega’s alleged infractions, even if true, were sufficiently serious to

      terminate him.

 213. Mr. Rodriguez-Ortega’s termination was because of and in directly in violation of

      his rights under the FMLA, and because of his disability and serious health

      condition, and as a matter of law, cannot lawfully be used as a reason to terminate

      him.




                                         29
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 30 of 33




                     COUNT IX: VIOLATION OF 42 U.S.C. § 1983

                           (L. Teresa Padilla, individual capacity)

 214. Plaintiffs reincorporate and reallege the paragraphs above as though set forth fully

      herein.

 215. Plaintiffs have a well-established property interest in their state jobs.

 216. Plaintiffs have a well-established due process right to fair and impartial triers of

      fact in the adjudication of their appeals.

 217. 1.7.12.10(A) NMAC requires “The hearing officer shall not participate in any

      adjudicatory proceeding if, for any reason, the hearing officer cannot afford a fair

      and impartial hearing to either party. Either party may ask to disqualify the

      designated hearing officer for cause by filing an affidavit of disqualification within

      14 calendar days of the order. The affidavit must state the particular grounds for

      disqualification. The designated hearing officer shall rule on motions for

      disqualification and an appeal of the ruling may be made to the board within 14

      calendar days of the hearing officer's ruling.”

 218. Defendant Padilla’s undisclosed new employment with SPB while they were

      adjudicating employment decisions by her and/her subordinates creates the

      appearance of impropriety and bias.

 219. Janelle Haught, hearing officer for Mr. Rodriguez’s appeal, allowed Mr.

      Rodriguez’s accuser to hold and feed her newborn baby while testifying against

      him. This denied him a fair trial by biasing the determination of credibility. A

      young mother breastfeeding her newborn will seem more credible and sympathetic.


                                           30
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 31 of 33




 220. In addition, this witness was on continuous FMLA leave at the time Defendants

      required her to give testimony, which is interference with her federal rights.

 221. Both ALJ’s, at different times, received raises after hearing Plaintiffs’ appeals, but

      before making their decision to uphold their terminations. These raises required

      fundamental changes to their job titles, and required the involvement of SPO

      directors. This creates the unmistakable appearance of impropriety.

 222. Plaintiffs had a well-recognized due process right to their public employment.

 223. Procedural due process requires a fair and impartial hearing before a trier of fact

      who is disinterested and free from any form of bias or predisposition regarding the

      outcome of the case.

 224. Defendant Padilla acted under color of law when she knowingly accepted a transfer

      to SPO while it was adjudicating decisions made by herself and her direct

      subordinates.

 225. Neither Defendant Padilla nor her agents informed Plaintiffs of this transfer.

 226. Both SPO Hearing Officers received raises after hearing Plaintiff’s appeal, but

      before issuing their decisions.

 227. SPO Hearing Officers became the subordinates of Defendant Padilla.

 228. Judging the credibility of the testimony of one’s own superior creates the

      appearance of bias and impropriety.

 229. Defendants repeated failure to disclose Defendant Padilla’s new roles at SPO

      creates the appearance of impropriety and bias at SPO.

 230. SPO Staff involved with Plaintiffs adjudications are subordinates of Defendant

      Padilla and act in her interest.



                                          31
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 32 of 33




 231. SPO’s otherwise inexplicable refusal to transmit Plaintiffs’ administrative records

      to the federal court, in a clear effort to interfere with this litigation, creates the

      appearance of impropriety.

 232. SPO’s refusal, under Defendant Padilla’s leadership, to transmit the records of

      appeals in this case intentionally interferes with Plaintiff’s due process appeal

      rights.

 233. Only after Defendant Padilla retired did SPO finally transmit the records to this

      Court on September 27, 2023 after first inexplicably and intentionally filing them

      into the closed state court case.

 234. Defendant Padilla’s involvement and/or interference with SPO’s adjudication and

      handling of Plaintiffs’ administrative records denied Plaintiffs’ due process to

      which they were entitled.

 235. Plaintiffs have suffered damages from this violation of their constitutional rights.




                                 Prayer For Relief


    Wherefore, Plaintiffs respectfully request:

 A. A trial by a jury of 6 persons on all issues so triable;

 B. Judgement against Defendants;

 C. Back pay;

 D. Compensatory Damages;

 E. Liquidated Damages;

 F. Punitive Damages;

                                           32
Case 1:21-cv-01129-JCH-KK Document 106 Filed 11/01/23 Page 33 of 33




 G. Attorney’s fees, expenses, costs, pre-judgement and post-judgement interest as may

    be provided by law

 H. Any other relief this court deems just or proper.




                                                           Respectfully Submitted.



                                                           Heather Burke
                                                           Attorney at Law
                                                           1000 Cordova Place #24
                                                           Santa Fe, NM 87505
                                                           (505) 428-9424
                                                           heather@hburkelaw.com




                                         33
